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 3
     Attorney for Defendant,
 4   Yusen Valenzuela Herrera
 5
                                 UNITED STATES DISTRICT COURT
 6
                          FOR THE EASTERN DISTSRICT OF CALIFORNIA
 7

 8                                                  )   Case No. CR S 14-00326 - GEB
     UNITED STATES OF AMERICA,                      )
 9                                                  )   STIPULATION AND PROPOSED ORDER
                    Plaintiff,                      )   SETTING MATTER FOR JUDGEMENT
10                                                  )   AND SENTENCING
            vs.                                     )
11                                                  )
     YUSEN VALENZUELA-HERRERA                       )
12                                                  )
                    Defendant                       )
13
            The parties hereto stipulate that the judgment and sentencing hearing now set for April 1,
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15
     2016, be continued to April 15, 2016 at 9:00 a.m. for judgment and sentencing. Probation has

16   been advised of the new date.

17   DATED: March 29, 2016                       /s/ Dina L. Santos
                                                 Attorney for Defendant,
18                                               Yusen Valenzuela-Herrera
19

20   DATED: March 29, 2016                       /s/ Josh Sigal,
                                                 JOSH SIGAL
21                                               Assistant U.S. Attorney

22
     IT IS SO ORDERED.
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24   Dated: March 29, 2016

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